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Collezione Europa U.S.A., Inc.


                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY


In re:                                               Case No. 08-13599 (MS)

COLLEZIONE EUROPA U.S.A., INC.,                      Chapter 11

               Debtor.


COLLEZIONE EUROPA U.S.A., INC.,

               Plaintiff,                            Adv. Pro. No. 09-1102 (MS)

v.

SIMON TUSHA,

               Defendant.



                            NOTICE OF DISMISSAL WITHOUT PREJUDICE


         PLEASE TAKE NOTICE that a demand was made by debtor/plaintiff, Collezione Europa

 U.S.A., Inc. (“Plaintiff”), upon Simon Tusha ("Defendant") for the turnover of funds.

         PLEASE TAKE FURTHER NOTICE that on or about January 15, 2009, Plaintiff filed an

Adversary Complaint against the Defendant in the matter captioned Collezione Europa U.S.A.,

Inc. v. Simon Tusha, Adv. Pro. No. 09-1102 (MS), seeking turnover of funds (the “Complaint”).

         PLEASE TAKE FURTHER NOTICE that each party shall bear its own costs and

expenses in connection with this matter, including legal fees and expenses.
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         PLEASE TAKE FURTHER NOTICE that upon the filing of this Notice, this matter

shall be dismissed without prejudice.


                                                      TRENK, DiPASQUALE, WEBSTER,
                                                      DELLA FERA & SODONO, P.C.
                                                      Attorneys for Collezione Europa U.S.A., Inc.,


                                                      By:        /s/ Thomas M. Walsh
                                                                Thomas M. Walsh


Dated: April 23, 2009


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